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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
       v.                                            : MAGISTRATE NO. 21-MJ-75 (RMM)
                                                     :
TIMOTHY LOUIS HALE CUSANELLI,                        :
    Defendant.                                       :


                                               ORDER

       Upon consideration of the Government’s Motion for Emergency Stay and for Review of

Detention Order as to defendant Timothy Louis Hale-Cusanelli

       It is this 19th day of January, 2021,

       ORDERED, that the Motion for an Emergency Stay is hereby GRANTED and the

release order entered by the District of New Jersey Magistrate Judge on January 19, 2021 as to

defendant Timothy Louis Hale-Cusanelli is STAYED pending review of the detention decision

by this Court.




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                                               BERYL A. HOWELL, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF COLUMBIA




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